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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                              :     CHAPTER 7
                                                    :
MARY TORRENCE WILLIAMS,                             :     CASE NO. 20-62464-WLH
                                                    :
         Debtor.                                    :
                                                    :

 MOTION FOR ORDER AUTHORIZING COMPROMISE AND SETTLEMENT WITH
         DEBTOR UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Mary Torrence Williams (“Debtor”), by and through the

undersigned counsel, and files his Motion for Order Authorizing Compromise and Settlement

with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement

Motion”). In support of the Settlement Motion, Trustee respectfully shows the Court as follows:

                                   Jurisdiction and Venue

         1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

         2.    On February 9, 2020 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating




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Chapter 7 Case No. 20-62464-WLH (the “Bankruptcy Case”).

         3.      Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

         4.      On the Petition Date, Debtor owned a one-half interest in that certain real property

with a common address of 2518 Chimney Ridge Drive, SW, Conyers, Georgia 30094 (the

“Property”).

         5.      Debtor’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. §§ 348 and 541 (2020).

         6.      As part of his investigation of property of the Bankruptcy Estate, Trustee has had

the Property inspected by a licensed real estate broker and estimates that it has a value of

approximately $250,000.00 to $265,000.00. Debtor disputes Trustee’s valuation.

         7.      Rather than Trustee’s selling the Interest of the Bankruptcy Estate in the Property,

Debtor would like to purchase the Interest from the Bankruptcy Estate (the “Transfer Dispute”).

                                              The Settlement

         8.      Following negotiations, Trustee and Debtor (collectively, the “Parties”) have

reached an agreement to transfer the Interest to Debtor by Trustee’s abandoning it back to Debtor

following certain payments by Debtor. In this regard, the Parties have entered into a Settlement

Agreement (the “Settlement Agreement”). Trustee attaches a copy of the Settlement Agreement

as Exhibit “A” to this Settlement Motion. Significant terms of the Settlement Agreement are as

follows:1

                     a. After the Settlement Approval Order becomes final, Debtor shall pay a
                        total of $19,800.00 (the “Settlement Funds”) in good funds to Trustee in

1
         The following is a summary of the Settlement Agreement and is not intended to be comprehensive. To the
extent that anything in this summary is contrary to the terms of the Settlement Agreement, the Settlement
Agreement controls.



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                          exchange for Trustee’s abandoning the Interest to Debtor in accordance
                          with the following schedule (the “Scheduled Payments”): $825.00 per
                          month for 24 months, on the 1st day of each month, with a 5-day grace
                          period, beginning on September 1, 2020.

                 b.       The Interest of the Bankruptcy Estate in and to the Property shall be
                          deemed abandoned upon the later of: (a) Trustee’s receipt in full of the
                          Settlement Funds from Debtor in good funds; or (b) the Settlement
                          Approval Order2 becoming final.

                 c.       Debtor shall insure the Property to protect the Bankruptcy Estate against
                          loss, whether casualty or personal liability, until the later of: (a) Trustee’s
                          receipt in full of the Settlement Funds from Debtor; or (b) the Settlement
                          Approval Order becoming final.

                 d.       Debtor shall pay all ad valorem real property taxes that accrue against or
                          as a result of the Property until the later of: (a) Trustee’s receipt in full of
                          the Settlement Funds from Debtor; or (b) the Settlement Approval Order
                          becoming final.

                 e.       Debtor shall pay all maintenance and repair expenses that arise from or
                          that are related to the Property until the later of: (a) Trustee’s receipt in
                          full of the Settlement Funds from Debtor; or (b) the Settlement Approval
                          Order becoming final.

                 f.       The Parties stipulate and agree that Debtor shall not have a claim under
                          Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                          account of payment of the Settlement Funds, or for any reason, and that
                          neither Debtor nor any of her affiliates, agents, principals, or subsidiaries
                          shall receive a distribution from the Bankruptcy Estate.

                 g.       Effective upon the Settlement Approval Order becoming final, Debtor
                          shall waive any and all obligations that the Bankruptcy Estate may
                          otherwise have to pay to Debtor out of the Settlement Funds on account of
                          exemptions asserted by or on behalf of Debtor, if any, in the Property, the
                          Interest, or the Settlement Funds.

                 h.       If Debtor fails to pay timely the Scheduled Payments as set forth in
                          Section 2.2 of the Settlement Agreement, Debtor shall be entitled to three,
                          and only three, 5-day cure periods following notice (the “Default Notice”)
                          by Trustee to Debtor, in which Trustee shall notify Debtor that she has
                          failed to make a Scheduled Payment and which notice shall be given as set
                          forth in Section 11 of the Settlement Agreement. Following Debtor’s
                          receipt, as set forth in Section 11 of the Settlement Agreement, of a
                          Default Notice, Debtor shall have five days to cure the non-payment (the

2
         Capitalized terms not otherwise defined shall have the meanings ascribed to them in the Settlement Motion.


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                        “5-Day Cure Opportunity”) of the Scheduled Payment by delivering the
                        respective Scheduled Payment to Trustee as set forth in Section 2.2 of the
                        Settlement Agreement. After the three permitted cure periods have been
                        used, Trustee shall be entitled to strict compliance with all subsequent
                        payment deadlines. If Debtor: (a) fails to cure timely an unpaid Scheduled
                        Payment following one of her three 5-day Cure Opportunities, or (b) fails
                        to pay timely a Scheduled Payment after she has exhausted her three 5-day
                        Cure Opportunities, then:

                            i. Trustee shall be entitled to retain for the benefit of the Bankruptcy
                               Estate any Scheduled Payments that Debtor has made to Trustee;
                               and

                            ii. Trustee shall be entitled to sell the Property.

                                          Relief Requested

         9.     By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                           Basis for Relief

         10.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

         (a) The probability of success in the litigation; (b) the difficulties, if any, to be
         encountered in the matter of collection; (c) the complexity of the litigation
         involved, and the expense, inconvenience and delay necessarily attending it; (d)
         the paramount interest of the creditors and a proper deference to their reasonable
         views in the premises.




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Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

         11.   The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

         12.   The proposed settlement will allow Trustee to make a meaningful distribution to

the holders of timely filed general unsecured claims in this Bankruptcy Case and avoid the costs

and risks of marketing and selling the Property through a licensed real estate broker (and also

allow Debtor to keep her primary residence).

         13.   Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.




                               [INTENTIONALLY LEFT BLANK]




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         WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

         Respectfully submitted, this 24th day of August, 2020.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Compromise and
Settlement with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first
class United States mail on the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Mary Torrence Williams
2518 Chimney Ridge Drive SW
Conyers, GA 30094

Angelyn M. Wright, Esq.
The Wright Law Alliance, PC
P. O. Box 3576
Decatur, GA 30031


         This 24th day of August, 2020.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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